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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-----------------------------------X
TIFFANY TOTH, GEMMA LEE,
JESSA HINTON, BROOKE TAYLOR,
JESSE GOLDEN, LINA POSADA,
SHEENA LEE WEBER, HEATHER RAE YOUNG,
RACHEL KOREN, SABELLA SHAKE,
URSULA MAYES, and CARMEN ELECTRA,

                    Plaintiffs,

        - against -                                       MEMORANDUM AND ORDER

59 MURRAY ENTERPRISES, INC.,                               15 Civ. 8028 (NRB)
d/b/a NEW YORK DOLLS GENTLEMEN’S
CLUB, BARRY LIPSITZ, AAM HOLDING
CORPORATION, d/b/a PRIVATE EYES
GENTLEMEN’S CLUB, ANITA MICELI,
JAY-JAY CABERET, INC., d/b/a
FLASHDANCERS GENTLEMEN’S CLUB,
and MARSHA LIPSITZ,

                    Defendants.

-----------------------------------X
NAOMI REICE BUCHWALD
UNITED STATES DISTRICT JUDGE


        Plaintiffs,     eleven    models        earning    a    living    by    promoting

their    images    to   commercial        brands    and    entertainment         outlets,

bring    this    action   for     false    endorsement,         misappropriation       of

likeness,       deceptive     trade      practice,        and    defamation       against

defendant       gentlemen’s      clubs    and     their    owners,       alleging   that

defendants misappropriated plaintiffs’ images by using them in

defendants’      promotional      material       without       consent.        Plaintiffs

now move for summary judgment pursuant to Rule 56 of the Federal

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Rules of Civil Procedure.                Defendants cross-move for summary

judgment and also move to strike the expert reports, survey, and

testimony     of   plaintiffs’      proposed       experts     Martin   Buncher   and

Stephen Chamberlin.        For the reasons set forth below, we grant

in part and deny in part both plaintiffs’ motion for summary

judgment and defendants’ cross-motion for summary judgment, and

grant    defendants’    motion      to    strike       the   reports,   survey,   and

testimony of plaintiffs’ proposed experts in its entirety.

                               I.        BACKGROUND 1

          A. Parties

      Plaintiff      Electra     is      a       professional    model,    actress,

recording artist, and entrepreneur.                    She has released a self-

titled    album    produced    by     Prince      on   his   Paisley    Park   record

label, appeared on television shows such as Baywatch, 90210,

Britain’s Got Talent, and Ex-Isle, starred in popular movies

such as Scary Movie, Dirty Love, Cheaper by the Dozen 2, and

Meet the Spartans, and released a single that reached the number

25 spot on Billboard’s Dance Club Play Chart.                     In 2006, Electra

became a published author with the release of her book How to be

Sexy.    Pls.’ 56.1 Stmt. ¶ 57.


1     The facts described below are largely drawn from the Second Amended
Complaint, ECF No. 18 (“SAC”), Plaintiffs’ Local Rule 56.1 Statement, ECF No.
81 (“Pls.’ 56.1 Stmt.”), Defendants’ Response to Pls.’ 56.1 Stmt., ECF No. 93
(“Defs.’ 56.1 Response”), Defs.’ Local Rule 56.1 Statement, ECF No. 110
(“Defs.’ 56.1 Stmt.”), and Plaintiffs’ Response to Defs.’ 56.1 Stmt., ECF No.
117 (“Pls.’ 56.1 Response”). We will note any facts in dispute.
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       The     other       ten    plaintiffs 2        —     plaintiffs      Golden,        Hinton,

Koren, Lee, Mayes, Posada, Shake, Toth, Weber, and Young — are

models, actresses, and/or businesswomen who have appeared in a

wide     variety         of      commercials,             promotional       campaigns,           and

magazines.          Pls.’ 56.1 Stmt. ¶¶ 9, 15, 20, 24, 28, 32, 36, 42,

47, 52.       Several of these plaintiffs have also made unspecified

appearances         in   television        shows       and      films.      All     plaintiffs,

including Electra, reside in either California or Texas, see SAC

¶¶ 11–22, and at least some of plaintiffs’ appearances were made

in     media        targeting        audiences            outside     of     the        New     York

metropolitan area.               See, e.g., id. ¶¶ 36 (hosting a television

show    for     a    local       station     in       Los       Angeles,    California),          47

(promoting foreign lingerie brands).                            Plaintiffs also lay claim

to varying degrees of social media celebrity, citing followings

on Facebook, Instagram, and Twitter as of May 2018.

       Corporate         defendants        59     Murray         Enterprises,           Inc.,    AAM

Holding       Corp.,       and     Jay-Jay      Cabaret,          Inc.     own     and     operate

Manhattan-based            gentlemen’s       clubs          —    namely,    New     York        Dolls

Gentlemen’s         Club      (“NY   Dolls”),         Private       Eyes   Gentlemen’s           Club

(“Private           Eyes”),          and     Flashdancer’s               Gentlemen’s            Club

(“Flashdancer’s”),               respectively         (collectively,             “the     Clubs”).

Pls.’ 56.1 Stmt. ¶¶ 63, 65, 67.                       For all times relevant to this

2     Counsel for plaintiffs confirmed that Brooke Taylor has withdrawn all
claims in this action. Oral Arg. Tr. (“Tr.”) 2:16–18.

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litigation, individual defendant Barry Lipsitz has been the sole

owner of 59 Murray and co-owner, along with defendant Marsha

Lipsitz, of AAM and Jay-Jay Cabaret.                Defs.’ 56.1 Stmt. ¶¶ 193,

221–22.      Defendant Anita Miceli is a former co-owner of AAM

whose ownership interest ended in 2010.              Id. ¶ 217.

          B. The Images

     The Clubs are engaged in the business of selling alcohol

while    nude    or    seminude    women    entertain     patrons.        Pls.’   56.1

Stmt. ¶¶ 63, 65, 67.            In order to promote their businesses, the

Clubs,    with    the       assistance   of    third-party      contractors,      post

promotional content on their websites and social media accounts.

The content is typically some combination of the Club’s logo, a

woman striking a pose, and a sentence or two of text either

identifying a specific event or generally promoting interest in

the Clubs.

     An advertisement for a NY Dolls Halloween party posted to

the NY Dolls website in October of 2014 is typical.                       SAC Ex. A,

ECF No. 18-1 at 2 (“A1”).                A1 features an image of plaintiff

Toth posing in a costume alongside a superimposed NY Dolls logo

and text that reads “New York Dolls Halloween Party!” and “100

entertainers          in    costume!       Giveaways      and     lots     of     other

surprises!”           The   advertisement      includes   a     caption   below    the




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image clarifying that the costumes will be the entertainers’

“sexiest”:




     The second screenshot included in Exhibit A provides an

example of promotional content posted to the Clubs’ social media

accounts.    SAC Ex. A, ECF No. 18-1 at 3 (“A2”).      A2, posted to

the NY Dolls Facebook page, features an image of plaintiff Toth

in what could be a bathing suit, her arms pulled back above her

head as she strikes a pose against an empty white background.

The only text is a caption adjacent to the image asking “Who

needs to leave anything to the imagination when the reality is

even better?”:




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       Plaintiffs attach an additional 35 images to the SAC that

the parties agree in toto feature the likenesses of at least one

plaintiff.    See SAC Exs. A-O, ECF Nos. 18-1 through 18-3. 3             None

of the content identifies plaintiffs by name.

       It is undisputed that defendants never sought permission to

use plaintiffs’ images in their promotional content, and that in

fact   plaintiffs    never   specifically     agreed   to   appear   in   the


3     See SAC Ex. A, ECF No. 18-1 at 4 (“A3”), 6 (“A4”), 7 (“A5”) (Toth); SAC
Exs. B and C, ECF No. 18-1 at 10 (“B1”) and 12 (“C1”) (Lee); SAC Ex. D, ECF
No. 18-1 at 14 (“D1”), 15 (“D2”) (Young); SAC Exs. E and F, ECF No. 18-1 at
17 (“E1”), 19 (“F1”) (Koren and Shake); SAC Ex. G, ECF Nos. 18-1 at 21
(“G1”), 22 (“G2”) and 18-2 at 1 (“G3”) (Mayes); SAC Exs. H and I, ECF No. 18-
2 at 3 (“H1”), 4 (“H2”), 5 (“H3”), 6 (“H4”), 7 (“H5”), 8 (“H6”), 9 (“H7”), 11
(“I1”), 12 (“I2”), 13 (“I3”), 14 (“I4”), 15 (“I5”) (Hinton); SAC Exs. J, K,
and L, ECF No. 18-2 at 17 (“J1”), 19 (“K1”), 21 (“L1”) (Golden); SAC Ex. M.,
ECF Nos. 18-2 at 23 (“M1”) and 18-3 at 1 (“M2”), 2 (“M3”), 3 (“M4”), 4 (“M5”)
(Posada); SAC Ex. N, ECF No. 18-3 at 7 (“N1”), 8 (“N2”) (Weber); SAC Ex. O,
ECF No. 18-3 at 11 (“O1”) (Electra). G1 through G3 are the only images that
do not appear on the Clubs’ websites or accounts; the images appear instead
on either www.stripclublists.com (G1 and G2) or www.stripclubcoupons.com
(G3).

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Clubs’ promotional            content      or    at     any    of   the     events   promoted

therein.        Pls.’s 56.1 Stmt. ¶¶ 5, 6.                    Nor did plaintiffs agree

to endorse the Clubs.                Id.         Moreover, plaintiffs were never

offered, nor did they receive, any specific compensation for the

Clubs’ use of their images.               Id. ¶ 7.

     It     is     also       undisputed         that       the     Clubs     entered      into

agreements       with       third-parties        to     create      and     maintain     their

respective websites and social media accounts.                              Paul Brown and

his company Internet Management Corporation (“IMC”) designed the

Clubs’ websites and have provided advertising services to the

Clubs     for    over       20   years,         while       Melange    Media     Group     LLC

(“Melange”) was responsible for creating the Clubs’ social media

accounts    and       ran    those   accounts         from     at   least    February      2014

through the filing of the complaint in this action.                             Defs.’ 56.1

Stmt. ¶¶ 195, 198; Pls.’ 56.1 Stmt. ¶¶ 70–73; Declaration of

John Golaszewski (“Golaszewski Decl.”) Ex. O, June 1, 2018, ECF

No. 80–3.

     Defendants maintain that these third-party contractors were

responsible for creating and publishing the promotional content

posted     to    the    Clubs’       websites         and     accounts,      including     the

selection of the images at issue.                       Pls.’ 56.1 Stmt. ¶¶ 81, 85;

Defs.’ 56.1 Stmt. ¶¶ 196, 198.                          Plaintiffs counter that, at

times,    one    of    the    Clubs’    employees           coordinated       with   IMC    and


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Melange regarding the posting of promotional content, Pls.’ 56.1

Response    ¶   196,   but   it   is     undisputed   that    the   Clubs    never

requested the use of any particular plaintiff’s image, nor is it

disputed    that   the   extent     of    the    Clubs’   involvement   in    the

posting of the images at issue was requesting images of models

that     were    consistent       with     the     general    themes    of    the

advertisements.        Defs.’ 56.1 Stmt. ¶ 211.              Brown himself has

readily admitted that IMC was responsible for posting all of the

images at issue except for O1. 4          Defs.’ 56.1 Stmt. ¶ 208.

          C. Permission to Use the Images

       A number of plaintiffs conceded that they typically sign

releases for photoshoots that they participate in, see, e.g.,

Defs.’ 56.1 Stmt. ¶¶ 13, 29, 92, 135, but the only plaintiffs

for which there are releases specific to images at issue in this

litigation are Lee, Koren, Shake, Mayes, Hinton, and Golden.

Defs.’ 56.1 Stmt. ¶¶ 35 (Lee), 69 (Koren), 78 and 87 (Shake), 98

(Mayes), 5 122 (Hinton), 144 (Golden).              The specific language of

each release varies, but all grant the releasee unlimited rights

to the use of the images at issue.               See, e.g., Defs.’ 56.1 Stmt.


4     Defendants assert that image O1 was posted by Melange. Defs.’ 56.1
Stmt. ¶ 199. As plaintiffs note, Brown’s admission is difficult to square
with the fact that 22 of the 37 images at issue were posted to social media
accounts run by Melange, as opposed to the Clubs’ websites run by Brown and
IMC. Pls.’ 56.1 Response ¶ 197. Plaintiffs, however, do not contend that
the Clubs, as opposed to Melange, were directly responsible for posting the
images that appeared on the Clubs’ social media accounts.

5      See also Tr. 12:4–13:6.
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¶¶ 38 (“I . . . further waive any claim that I may at any time

have to the eventual use to which such Images may be applied.

Additionally, I hereby warrant, transfer, sell and assign all

right,     title   and     interest       to    the    Images      to    Company       for    the

consideration       state    [sic]        herein”),          87    (“All    negatives         and

positives,       together     with       the        prints    shall      constitute          your

property, solely and completely.”), 123 (“I agree that I have no

rights to the Images and all rights to the Images belong to

[releasee]       without     reservation             of      rights,       in     perpetuity,

throughout the universe, in all media whether now known or later

discovered.”).

       While defendants claim that Brown advised them that he had

secured     permission      to     use     the       images       at    issue,    plaintiffs

dispute that Brown did so.                Pls.’ 56.1 Response ¶ 200.                   Instead,

plaintiffs claim that the Clubs were on a “faith basis” with

Brown,     and     never     saw     or        actually       requested         any    written

confirmation that Brown or his company had the rights to use any

of the images.       See Pls.’ 56.1 Stmt. ¶¶ 88–91; Defs.’ 56.1 Stmt.

¶   203.     Consistent      with     defendants’            “faith      basis”       approach,

there is no evidence in the record that the Clubs were aware

prior to the commencement of this action that their contractors

were   posting     images     without          properly      securing       the    rights      to

those images.        Pls.’ 56.1 Response ¶ 212; see also Pls.’ 56.1


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Stmt. ¶ 80.       Defendants have since removed all of the images at

issue from their promotional material.           Tr. 17:11–25.

       D. Earnings and Income

     Plaintiffs      offer    undisputed       evidence     of     income     from

modeling    and    standard    rates    that    they      charged    for    their

services.     Electra earned over $5,000,000 from modeling between

2009 and 2012.        Defs.’ 56.1 Stmt. ¶¶ 182–189.                For years in

which the other ten plaintiffs reported incomes from modeling,

they ranged from $400 (Weber) to $92,000 (Golden).                  Defs.’ 56.1

Stmt. ¶¶ 140, 167.       All plaintiffs’ tax returns show that their

income either increased or remained roughly the same from 2009

to 2016.    Defs.’ 56.1 Stmt. ¶ 191.           Where there is evidence of

plaintiffs’ “day rates,” or fees charged by plaintiffs for a

full day photoshoot, those rates range from $1,500 to $3,000.

Defs.’ 56.1 Stmt. ¶ 39, 86, 124.

     The Clubs did not garner any additional profits from using

plaintiffs’ images, and there is no evidence of an increase in

revenue attributable to any special events that were promoted

through the use of plaintiffs’ images.           Defs.’ 56.1 Stmt. ¶ 192.

       E. Procedural Background

     Plaintiffs     filed    their   initial    complaint     on    October    13,

2015, ECF No. 1, and subsequently filed two amended complaints

in January of 2016.          See ECF Nos. 13 and 18.             Each complaint


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alleges the same eight causes of action:                   (1) false endorsement

under Section 43 of the Lanham Act, 15 U.S.C. § 1125(a)(1); (2)

misappropriation of likeness for advertising purposes under N.Y.

Civil     Rights     Law   (“NYCRL”)     §§     50–51;     (3)   deceptive       trade

practices under N.Y. General Business Law (“NYGBL”) § 349(h);

(4)   defamation;        (5)   negligence;      (6)     conversion;      (7)    unjust

enrichment; and (8) quantum meruit.

      On July 15, 2016, defendants filed a third-party complaint

against     IMC    and   Melange.      ECF    No.   25.     Neither      third-party

defendant appeared.

      After a lengthy and contentious period of discovery, the

parties held a teleconference with the Court on April 19, 2018

during     which    plaintiffs      indicated    that     they   were    withdrawing

their claims of negligence, conversion, unjust enrichment, and

quantum meruit and so confirmed during oral argument on November

29, 2018.         Tr. 2:12–15.      Also during oral argument on November

29, 2018, plaintiffs confirmed that they were withdrawing all

claims made on behalf of plaintiff Brooke Taylor.                       Id. at 2:16–

22.

                                 II.   DISCUSSION

      A motion for summary judgment is appropriately granted when

there is no genuine issue as to any material fact and the moving

party is entitled to judgment as a matter of law.                              Fed. R.


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Civ. P. 56(a).       In this context, “[a] fact is ‘material’ when it

might affect the outcome of the suit under governing law,” and

“[a]n issue of fact is ‘genuine’ if the evidence is such that a

reasonable jury could return a verdict for the nonmoving party.”

McCarthy v. Dun & Bradstreet Corp., 482 F.3d 184, 202 (2d Cir.

2007) (internal quotation marks and citations omitted).                                “In

assessing    the     record     to     determine       whether    there       is   [such]

a genuine issue to         be   tried,      we   are   required     to    resolve      all

ambiguities and draw all permissible factual inferences in favor

of    the   party     against      whom      summary     judgment        is    sought.”

Gorzynski v. JetBlue Airways Corp., 596 F.3d 93, 101 (2d Cir.

2010) (citing Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 255

(1986)).

      On a motion for summary judgment, “[t]he moving party bears

the    initial       burden       of       demonstrating         ‘the     absence       of

a genuine issue of material fact.’”                F.D.I.C. v. Great Am. Ins.

Co., 607 F.3d 288, 292 (2d Cir.2010) (quoting Celotex Corp. v.

Catrett,    477     U.S.   317,      323   (1986)).       Where     that      burden    is

carried, the non-moving party “must come forward with specific

evidence demonstrating the existence of a genuine dispute of

material fact.”        Id. (citing Anderson, 477 U.S. at 249).                         The

non-moving party “must do more than simply show that there is

some metaphysical doubt as to the material facts ... and may not


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rely on conclusory allegations or unsubstantiated speculation.”

Brown v. Eli Lilly and Co., 654 F.3d 347, 358 (2d Cir. 2011)

(internal quotation marks and citations omitted).

          A. Individual Defendants

     Plaintiffs      do     not      contest      defendants’      cross-motion          for

summary     judgment      to      dismiss      all     claims   against       individual

defendants    Lipsitz,          Lipsitz,    and       Miceli.     See      Tr.    2:19–22.

Because there is nothing in the record to support a piercing of

the corporate veil or any other theory of liability implicating

individual    defendants,          we   grant     defendants’      cross-motion          for

summary     judgment      and        deny   plaintiffs’         motion      as     to    the

individual defendants.

          B. Lanham Act § 43 (28 U.S.C. § 1125(a)(1)) False
             Endorsement Claim

     Section    43     of      the    Lanham     Act    prohibits       the      use    of    a

protected    mark    in     a     way   that     is    likely    to    cause      consumer

confusion    “as     to     the      origin,     sponsorship,         or   approval          of

[defendants’] goods.”              15 U.S.C.A. § 1125 (a)(1)(A) (emphasis

added).     In order to establish a claim for false endorsement

under Section 43(a), plaintiffs must prove that defendants: “(1)

in commerce, (2) made a false or misleading representation of

fact (3) in connection with goods or services (4) that is likely

to cause consumer confusion as to the origin, sponsorship, or

approval of the goods or services.”                    Burck v. Mars, Inc., 571 F.
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Supp. 2d 446, 455 (S.D.N.Y. 2008); see also Beastie Boys v.

Monster Energy Co., 66 F. Supp. 3d 424, 448 (S.D.N.Y. 2014).

       As     defendants           do    not      dispute         that    plaintiffs        have

established that the defendants’ advertisements and promotions

were     used     “in     commerce”        and    “in       connection      with    goods     or

services,”        we    begin      by   addressing          whether      defendants    made    a

false or misleading representation of fact.

            1.          False or Misleading Representation of Fact

       Defendants        argue      that    the       use   of    plaintiffs’       images    is

neither       literally         nor      impliedly          false.         But     whether     a

representation is literally or impliedly false is a question

traditionally addressed within the context of false advertising

claims brought under 15 U.S.C.A. § 1125 (a)(1)(B), not in the

context of false endorsement claims brought under subsection (A)

of the section.              See, e.g., Fischer v. Forrest, No. 14-cv-1304

(PAE), 2015 WL 195822, at *11 (S.D.N.Y. Jan. 13, 2015); Roberts

v. Bliss, 229 F. Supp. 3d 240, 249 (S.D.N.Y. 2017); Beastie

Boys, 66 F. Supp. 3d at 449–56 (S.D.N.Y. 2014).                                    In a false

endorsement claim brought under 15 U.S.C.A. § 1125 (a)(1)(A),

the    unauthorized          and   suggestive         use    of    a   person’s     image    can

satisfy the requisite element of falsity.                              See Roberts, 229 F.

Supp.    3d      at    249   (“The      false    or    misleading        representation       of

fact, in the context of a false endorsement claim, may involve


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the misleading implication that a celebrity or public figure

endorses a product, when she does not.”); A.V.E.L.A., Inc. v.

Estate   of    Marilyn    Monroe,     LLC,     131     F.   Supp.       3d   196,   208

(S.D.N.Y. 2015) (citing cases holding that “the use of an image

on a product can support a claim for false endorsement”); see

also 5 McCarthy on Trademarks and Unfair Competition § 28:15

(5th ed.).

     Here,     where   the    parties     do   not     dispute     that      plaintiffs

never endorsed or agreed to be associated with the Clubs, the

prominent      display     of     plaintiffs’        images        in     the    Clubs’

advertising constitutes false or misleading representations of

fact for purposes of a false endorsement claim.                         Whether these

misrepresentations        are    likely      to   cause      consumer        confusion

actionable under the Lanham Act, however, is a separate question

and the subject of the next step in our analysis.

         2.       Likelihood of Consumer Confusion

      “It is well settled that the crucial determinant in an

action   for    trademark       infringement      or    unfair      competition     is

whether there is any likelihood that an appreciable number of

ordinarily prudent purchasers are likely to be misled, or indeed

simply confused, as to the source of the goods in question.”

Pirone v. MacMillan, Inc., 894 F.2d 579, 584 (2d Cir. 1990)

(internal     quotation      marks   omitted);       see    also    Dallas      Cowboys


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Cheerleaders, Inc. v. Pussycat Cinema, Ltd., 604 F.2d 200, 205

(2d   Cir.   1979)        (“The     public’s       belief     that      the    mark’s    owner

sponsored      or    otherwise           approved       the   use      of     the    trademark

satisfies      the       confusion       requirement”).              This   is      normally    a

factual question, but a court may dismiss claims as a matter law

if satisfied that there is no genuine issue of material fact.

 Pirone, 894 F.2d at 584–85.

      “Generally speaking, establishing a likelihood of confusion

is the plaintiff’s burden.”                  Bondar v. LASplash Cosmetics, No.

12-cv-1417     (SAS),       2012     WL    6150859,      at     *5    (S.D.N.Y.       Dec.   11,

2012).       We      evaluate       plaintiffs’          showing       of     likelihood       of

confusion using a modified version of the traditional Polaroid

test, omitting from our analysis elements of the test that are

inapplicable to false endorsement claims.                        See Polaroid Corp. v.

Polarad Elecs. Corp., 287 F.2d 492, 495 (2d Cir. 1961); see also

Jackson   v.      Odenat,       9   F.    Supp.    3d    342,    356       (S.D.N.Y.    2014);

Beastie Boys, 66 F. Supp. 3d at 424.                          The Polaroid factors we

consider are: (1) strength of the trademark; (2) evidence of

actual consumer confusion; (3) evidence that the imitative mark

was   adopted       in    bad   faith;      (4)    similarity         of    the     marks;   (5)

proximity of the products and their competitiveness with one

another; and (6) sophistication of consumers in the relevant

market.


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      “The application of the Polaroid test is not mechanical,

but rather, focuses on the ultimate question of whether, looking

at the products in their totality, consumers are likely to be

confused.”        Starbucks Corp. v. Wolfe’s Borough Coffee, Inc., 588

F.3d 97, 115 (2d Cir. 2009) (internal quotation marks omitted).

“No single factor is dispositive,” Brennan’s, Inc. v. Brennan’s

Rest., LLC, 360 F.3d 125, 130 (2d Cir. 2004), and the fact “that

one or more factors may weigh in one party’s favor does not

preclude summary judgment in the other’s favor with respect to

likelihood of confusion.”             Disney Enters., Inc. v. Sarelli, 322

F. Supp. 3d 413, 432–33 (S.D.N.Y. 2018).

                       a.   Strength of Mark

      For purposes of a false endorsement claim, “the ‘mark’ is

the plaintiff’s persona and the ‘strength of the mark’ refers to

the   level      of    recognition     that    the   plaintiff    has    among   the

consumers to whom the advertisements are directed.”                     Jackson, 9

F. Supp. 3d at 356.            “The strength of [plaintiff’s] mark or name

is    a     crucial    factor    in    determining    likelihood    of    consumer

confusion.”           Pelton    v.   Rexall    Sundown,   Inc.,   No.    99-cv-4342

(JSM), 2001 WL 327164, at *3 (S.D.N.Y. Apr. 4, 2001).

      Plaintiffs, however, argue that the operative question in

evaluating the strength of mark factor is not whether plaintiffs

are recognizable, but rather whether plaintiffs possessed a mere


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intention to commercialize their marks.               This argument stands in

stark contrast       to    the   caselaw   and   ignores     the    reality      that,

absent     some    level    of   recognition,       there    is     no   basis        for

inferring     consumer      confusion      regarding       the     sponsorship        or

approval of the Clubs’ goods and services.                  See Bondar, 2012 WL

6150859, at *7 (“Of course, the misappropriation of a completely

anonymous face could not form the basis for a false endorsement

claim, because consumers would not infer that an unknown model

was ‘endorsing’ a product, as opposed to lending her image to a

company for a fee”); Pelton, 2001 WL 327164, at *3–4 (granting

defendant’s       motion   for   summary      judgment     where    there    was      no

evidence that plaintiff, who claimed international renown and

had appeared as a model in various magazines and promotional

campaigns,    was     “a    recognizable      celebrity”);        Albert    v.    Apex

Fitness,    Inc.,    No.    97-cv-1151     (LAK),    1997    WL    323899,       at   *1

(S.D.N.Y.    June    13,    1997);   Passelaigue      v.    Getty    Images      (US),

Inc., No. 16-cv-1362 (VSB), 2018 WL 1156011, at *8 (S.D.N.Y.

Mar. 1, 2018). 6




6      In support of their argument, plaintiffs rely primarily on Fischer v.
Forrest, 286 F. Supp. 3d 590 (S.D.N.Y. 2018). See Pls.’ Reply Br. 9, ECF No.
115. But in Fischer, the court held that plaintiff Fischer failed to
demonstrate a likelihood of consumer confusion as a matter of law, despite
the magistrate judge’s finding that Fischer met “or appeared to meet” the
strength of mark factor by showing that he had profitably marketed his
product for a number of years. Fischer, 286 F. Supp. 3d at 612. We decline
to redefine the strength of the mark factor on account of stray dicta.
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       Plaintiff Electra has offered persuasive evidence of the

strength      of     her        mark.            Electra’s           uncontroverted           resume

establishes that she has not just appeared in popular movies and

television shows, but had regular and starring roles in them.

She is a recording artist that has released a self-titled album

under a well-known record label.                              Brands and businesses have

placed     value     in       her   appearances          to    the    tune      of    millions    of

dollars.         These        achievements         are    indicia         of   a     strong    mark.

Moreover, counsel for defendants concede that Electra may be

well     known     enough           to     be    recognized          in    an        advertisement

containing only her image and without her name, Defs.’ Br. 15,

ECF No. 109, and defendants’ own expert Joseph Hunter concludes

that “Carmen Electra is a celebrity model and commercial talent,

who has receive notoriety and a notable reputation in her field

. . . .”      Affidavit of Joseph Hunter (“Hunter Aff.”), ECF No. 98

at 11.

       In contrast, the remaining ten plaintiffs have failed to

adduce evidence of a strong mark.                              Unlike plaintiff Electra,

none of these other plaintiffs offered evidence of significant

income     earned     through            their   various        appearances.            And   while

these      other     plaintiffs             have      participated             in      promotional

campaigns      for        a    wide       variety        of    brands      and       appeared    in

magazines, TV shows, and movies, their resumes are devoid of


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evidence     that    they     actually   garnered      recognition    for      any   of

their appearances.           Simply listing brands or magazine titles is

insufficient.          See     Pelton,   2001     WL    327164,      at   *3    (“One

appearance in a Sports Illustrated Swimsuit Issue in 1984 and

some advertising work for well-known consumer products does not

deliver celebrity status.”).             Plaintiffs’ recitations of their

social media followings as of May 2018 are equally unavailing,

in large part due to the fact that there is no evidence in the

record as to what plaintiffs’ social media followings were at

the   time    of    the     publishing   of   the      images   at   issue     -     the

operative inquiry.            The bottom line is that regardless of the

plaintiffs’ presence on social media, they have failed to cite

even one example of actual recognition (other than the single

response out of 636 correctly identifying Electra in image O1,

see infra n.10).

      For these reasons, while plaintiff Electra has demonstrated

that she has a strong mark, the other ten plaintiffs have failed

to do so.

                     b.     Evidence of Actual Confusion

      We     now    examine    the   second     factor:    evidence       of   actual

confusion among consumers.            While evidence of “actual confusion

need not be shown to prevail under the Lanham Act,” see Lois

Sportswear, U.S.A., Inc. v. Levi Strauss & Co., 799 F.2d 867,

                                         20
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875 (2d Cir. 1986), it is “highly probative of likelihood of

confusion.”       Allen v. Nat’l Video, Inc., 610 F. Supp. 612, 628

(S.D.N.Y. 1985).             Such evidence can be anecdotal, see Disney

Enterprises, Inc. v. Sarelli, 322 F. Supp. 3d 413, 435 (S.D.N.Y.

2018), but plaintiffs’ sole evidence of consumer confusion in

this case is a survey conducted by their proposed expert Martin

Buncher (the “Buncher Survey”).                Golaszewski Decl. Ex. S, ECF

No. 80-3; Tr. 13:7–11.

      The       Buncher        Survey,     a    self-administered          internet

questionnaire, asks a sample of adult male New York 7 residents

who had patronized a gentlemen’s club in the previous two years

a series of closed- and open-ended questions relating to three

of the images at issue in this litigation.                     See Golaszewski

Decl.     Ex.   S,     ECF   No.   80-3   at   68–69.     Plaintiffs      cite   the

responses       from     the    Survey    as   evidence    that     the    use    of

plaintiffs’ images caused consumers to believe that plaintiffs

had “agreed to promote the Strip Clubs,” “agreed to be in the

advertising,” “represent[ed] the lifestyle to which the Club is

oriented,”      and      “might    participate     in   some   of    the    events

described in the advertising.”             See Pls.’ Br. 11, ECF No. 82.




7     The Buncher Survey describes the sample of respondents as Florida
residents, which appears to be a “cut and paste” error, as other aspects of
the survey suggest that in fact respondents were a sample of New York
residents. See Golaszewski Decl. Ex. S, ECF No. 80-3 at 69, 141.
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       Defendants move to strike the Buncher Survey under Federal

Rules of Evidence (“FRE”) 702 and 403.                     Under FRE 702, expert

testimony is admissible “so long as the witness is qualified as

an expert and (1) the testimony is based on sufficient facts or

data, (2) the testimony is the product of reliable principles

and    methods,     and   (3)    the    expert       has   reliably      applied   the

principles    and    methods     reliably       to   the   facts    of    the   case.”

United States v. Pryor, 474 F. App’x 831, 834 (2d Cir. 2012)

(summary order) (internal quotation marks omitted).                       “While the

proponent of expert testimony has the burden of establishing by

a     preponderance       of    the    evidence       that    the     admissibility

requirements of Rule 702 are satisfied, the district court is

the ultimate ‘gatekeeper’” and must ensure “that an expert’s

testimony both rests on a reliable foundation and is relevant to

the task at hand.”         United States v. Williams, 506 F.3d 151, 160

(2d Cir. 2007) (citation omitted).

       Moreover, “as with all evidence, under Rule 403, the Court

may exclude testimony if its probative value is substantially

outweighed    by    the    danger     of   unfair     prejudice,      confusion,    or

delay.”     LVL XIII Brands, Inc. v. Louis Vuitton Malletier S.A.,

209 F. Supp. 3d 612, 636 (S.D.N.Y. 2016).                    “[B]oth Rule 702 and

403 require the court to look at the cumulative effect of all of

the flaws in a survey.”          Malletier v. Dooney & Bourke, Inc., 525


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F. Supp. 2d 558, 596 (S.D.N.Y. 2007); see also Mastercard Int’l

Inc. v. First Nat’l Bank of Omaha, Inc., No. 02-cv-3691 (DLC),

2004 WL 326708, at *10 (S.D.N.Y. Feb 23, 2004) (excluding a

survey    based     upon    the   cumulative       effect    of   flaws    in   the

methodology       that     “diminish[ed]     its    relevance     in   predicting

actual confusion . . . such that the potential for the Survey's

results to prejudice unfairly, to confuse, and to mislead the

jury substantially outweighs any limited relevance”).                     Moreover,

“a survey may be kept from the jury’s attention entirely by the

trial judge if it is irrelevant to the issues.”                   Starter Corp.

v. Converse, Inc., 170 F.3d 286, 297 (2d Cir. 1999).

      The Buncher Survey’s flaws are manifold.                Putting aside the

significance of Buncher’s apparently inaccurate description of

the sample population, the self-administered questionnaire uses

only three of the 37 images at issue in this litigation - H5

(Hinton), M1 (Posada), and O1 (Electra) - without providing an

adequate explanation as to how those three images were selected

or specifically how they were representative of the other 34

images.

      More importantly, however, Buncher failed to provide survey

takers with an opportunity to indicate lack of knowledge or an

instruction for participants not to guess – fatal defects where

the   questions     themselves    are   confusing      and   misleading.        See


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Malletier v. Dooney & Bourke, Inc., 525 F. Supp. 2d 558, 596

(S.D.N.Y.          2007)        (“[C]onsumer        confusion       surveys       should       be

designed to discourage guessing.”)                         (citing cases).          Question

9.4 is illustrative of this defect.                             It asks respondents to

indicate which of the following statements they believed to be

true:       “The    models       might      participate      in    some    of     the    events

described          in     the     advertising”        or    “The     models       would       not

participate in some of the events described in the advertising.”

Golaszewski         Decl.        Ex.   S,     ECF    No.    80-3    at     136.         86%   of

respondents answered that the models “might participate in some

of the events described in the advertising” — despite the fact

that none of the advertisements actually describe any events.

Without      the        opportunity      to   indicate      a     lack    of   knowledge       or

understanding of the question, respondents were forced to choose

between two statements with the same flawed premise. 8

        The Buncher Survey also includes questions with undefined

terms       that        are     inscrutable          without      further       explanation.

Questions 9.3 and 9.5, for example, ask respondents about the

“lifestyles” either “reflected in the advertising” or “to which




        8    An additional issue with Question 9.4 is that “might participate”
and “would not participate” are not opposing statements.       Respondents who
believed that the models were unlikely to participate in whatever events the
survey is referring to would be forced to answer “might participate” even if
they believed there was merely a small chance that the models may
participate.
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the Clubs are oriented,” without any explanation as what the

term “lifestyle” referred to.                 Id.

        Most importantly, the questions in the Buncher Survey are

not   directed       at   the     relevant     issues      in    a     false   endorsement

claim.      That more than 90% of respondents believed that the

models agreed to promote the Clubs or be in the advertisements

may demonstrate that the advertisements are impliedly false, but

do not speak to recognition or endorsement.                              See Golaszewski

Decl.     Ex.   S,     ECF    No.      80-3   at    145.        Other    survey    results

purporting to show how effective the use of plaintiffs’ images

were at arousing interest in the Clubs also miss the mark.                                The

degree to which a generic model’s appearance in an ad increases

a consumer’s interest in the Clubs is not the issue; rather, the

issue is whether respondents recognized plaintiffs or understood

their    appearances         to   be    endorsements       of    the    Clubs’    goods   or

services. 9

        Buncher himself concedes that his survey demonstrates that

the identity of the model is “not a significant factor” or “a

critical variable so long as she is a -- an attractive woman and

in an attractive outfit, and is just as – used in the same

manner     as   some      models       that   the   clubs       use    that    aren’t   even

9     Buncher’s focus on the effectiveness of the advertisements is curious
in light of the undisputed fact that the Clubs did not garner any additional
profits from the use of plaintiffs’ images in their advertisements. Defs.’
56.1 Stmt. ¶ 192.

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involved in the case.” 10               Declaration of Peter Shapiro Ex. B

(“Buncher Tr.”) at 57:9–14; 59:8–10, July 5, 2018, ECF No. 97-4.

     The concession by Buncher undermines plaintiffs litigative

position since the identity of the endorser is a “significant

factor”     and       “critical     variable”       in    assessing      likelihood    of

consumer confusion in a false endorsement claim.                             Because the

Buncher Survey is methodologically flawed and not probative of

the relevant issues, we grant defendants’ motion to strike the

report,     survey,      and    testimony      of   Martin       Buncher.     Given   the

absence     of    a    survey     or   anecdotal     evidence       supporting    actual

confusion,       we    find     that   the    “evidence      of     actual    confusion”

factor strongly favors defendants.                       See Sports Auth., Inc. v.

Prime    Hosp.    Corp.,       89   F.3d     955,   964    (2d    Cir.   1996)   (“[T]he

absence of surveys is evidence that actual confusion cannot be

shown.”).

                       c.     Evidence of Bad Faith

     Third, we consider evidence that the imitative mark was

adopted in bad faith, looking to “whether defendant in adopting

its mark intended to capitalize on plaintiff’s good will.”                            EMI



10    Notably, of the 636 responses to the open-ended prompts in questions 2
and 3 of the survey (“What is the first thing that comes to mind [looking at
these three advertisements]?” and “What else comes to mind?”), only one
included an identification of a plaintiff appearing in the ads (Electra in
image O1). That same respondent was clearly unfamiliar with either Hinton or
Posada, as he incorrectly identified one of the two as Paris Hilton. See
Golaszewski Decl. Ex. S, ECF No. 80-3 at 159.

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Catalogue P’ship v. Hill, Holliday, Connors, Cosmopulos Inc.,

228   F.3d     56,   66     (2d   Cir.    2000).           As   it     is   undisputed      that

defendants never specifically requested the use of any of the

plaintiffs’ images in their promotional material, it is clear

that defendants did not intend to capitalize on plaintiffs’ good

will.      Defs.’ 56.1 Stmt. ¶ 211.                    Moreover, plaintiffs fail to

offer evidence creating a genuine issue of fact as to whether

defendants knew or had reason to know that their third-party

contractors did not have the rights to use the images at issue.

See Pls.’ 56.1 Stmt. ¶¶ 80, 88–91; Pls.’ 56.1 Response ¶ 212.

Thus, this factor also weighs in favor of defendants.

                      d.     Other Factors

      The final three factors favor plaintiffs.                                Defendants do

not     dispute      that    the       advertisements           at     issue    include     the

likenesses of the plaintiffs.                   See Jackson, 9 F.Supp.3d at 358

(discussing       the     “similarity      of        the   marks”      factor    in   a   false

endorsement       action).         To     the    extent         that    proximity      of    the

products is relevant in a false endorsement action, see Beastie

Boys,     66    F.Supp.3d         at     456,        defendants        concede    that      the

plaintiffs and the Clubs are in the related fields of “selling”

womens’ appearances. 11            Defs.’ Opp. Br. 5, ECF No. 90.                     Finally,



11    Defendants argue that while the parties are in related fields, they are
not “competitors” in that field. But courts “have long recognized that the
parties need not be in actual competition with each other when the claim is
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the nature and cost of the product (alcohol) coupled with the

environment       in    which         it    is    served,      suggest     that    the    Clubs’

consumers        are    fairly         characterized            as     impulse    driven     and

unsophisticated         vis       a    vis       the    Clubs’       offerings.      See    Star

Indus., Inc. v. Bacardi & Co., 412 F.3d 373, 390 (2d Cir. 2005)

(“A   court      is    entitled        to    reach       a    conclusion    about        consumer

sophistication based solely on the nature of the product or its

price.”).

                       e.     Balancing

        Ultimately, the likelihood of confusion analysis in this

case turns on whether plaintiffs are sufficiently recognizable

such that their appearance in the advertisements is likely to

confuse consumers.               Even making all inferences in defendants’

favor,        plaintiff            Electra             has      established         sufficient

recognizibility.            For that reason, and taken together with the

Court’s     analysis        of        the    other       Polaroid       factors,     we    grant

plaintiffs’ motion for summary judgment as to Electra’s Lanham

Act claim and deny defendants’ cross-motion.

        Conversely,         the       remaining          plaintiffs       have     failed     to

demonstrate sufficiently strong marks and no reasonable juror

could     find     that      the       use       of    their     images     in     the    Clubs’



based on false affiliation or sponsorship.”                  Jackson, 9 F. Supp. 3d at 358–
59.

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advertisements is likely to cause consumer confusion.                           The Court

therefore denies plaintiffs’ motion for summary judgment with

respect to the Lanham Act claims of all other plaintiffs and

grants defendants’ cross-motion.

          3.        Lanham Act Injunctive Relief

       Having established a likelihood of consumer confusion,

plaintiff Electra is entitled to injunctive relief under the

Lanham Act.       See Allen, 610 F. Supp. at 630.               The Court

permanently enjoins defendants from using Electra’s image in any

of their promotional content without Electra’s permission.

          4.        Lanham Act Damages, Fees, and Costs

       Plaintiff Electra also seeks actual damages based on the

fair   market     value   of     her   image.        See   15   U.S.C.      §    1117(a).

“Plaintiffs     normally       have    a   greater    burden      in   attempting        to

establish entitlement to damages for violation of section 43(a):

They    must    establish      actual      consumer      confusion     or       deception

resulting      from   the      violation.”         PPX     Enterprises,         Inc.    v.

Audiofidelity      Enterprises,        Inc.,    818   F.2d      266,   271      (2d    Cir.

1987).     Plaintiffs may also show “that the defendant’s actions

were intentionally deceptive thus giving rise to a rebuttable

presumption of consumer confusion.”                   George Basch Co. v. Blue

Coral,    Inc.,    968    F.2d    1532,     1537   (2d     Cir.   1992);        see    also

Beastie Boys, 66 F. Supp. 3d at 458 (holding that “reckless

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disregard does not suffice” to prove intentional deception for

purposes of Lanham Act damages).                 For the reasons stated above,

plaintiffs failed to proffer evidence of either bad faith or

actual consumer confusion.              We therefore deny plaintiffs’ motion

for     summary       judgment     for     Lanham    Act     damages       and    grant

defendants’       cross-motion. 12         Plaintiffs       motion   for    an   award

attorney fees under 15 U.S.C. §§ 1117(a) fails for the same

reason.       Conopco, Inc. v. Campbell Soup Co., 95 F.3d 187, 194

(2d Cir. 1996) (permitting a prevailing plaintiff to recover

attorney fees under the Lanham Act only “on evidence of fraud or

bad   faith”).          Finally,   plaintiffs       move    for   costs     under   the

Lanham Act.           See 15 U.S.C. § 1117(a).             The Court maintains “a

wide field of equitable discretion” in determining whether to

award     a   party     costs.     5     McCarthy   on     Trademarks      and   Unfair

Competition       §    30:107    (5th    ed.).      Here,    where   both    parties’

motions were granted in part and denied in part, both sides

should bear their own costs.

          C. New York Civil Rights Law §§ 50-51 Claim

      Plaintiffs’ second cause of action is predicated on NYCRL §

51, which provides that any person whose image is used within

the state of New York for advertising purposes without their

written consent may maintain an action for equitable relief,


12    It follows that we also deny plaintiffs’ request for treble damages.
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actual damages, and exemplary damages.                         In order to succeed on

such a claim, plaintiffs must prove “(i) usage of plaintiff’s .

. . portrait . . . , (ii) within the state of New York, (iii)

for purposes of advertising or trade, (iv) without plaintiff’s

written consent.”               Passelaigue, 2018 WL 1156011, at *5 (citing

Molina v. Phoenix Sound Inc., 747 N.Y.S.2d 227, 230 (1st Dep’t

2002)).       Defendants do not contest elements (i) through (iii).

Rather, defendants argue that some of plaintiffs’ claims are

barred by the one-year statute of limitations, that plaintiffs

waived       their      NYCRL     §    51    claims    when    they       signed     unlimited

releases in connection with the images at issue, and further

that plaintiffs cannot prove damages.

             1.          Statute of Limitations

       NYCRL § 51 claims must be brought within one year from the

date    that      the     offending         material   is     first    published.           N.Y.

C.P.L.R. 215(3); see Nussenzweig v. diCorcia, 878 N.E.2d 589,

589 (N.Y. 2007).            Plaintiffs do not dispute that A1 through A5,

D1,    D2,    J1,    K1,     M1       through   M5,    N1,    N2,     and   O1     were    first

published         more     than       one   year     prior    to    the     filing    of    the

complaint in this action.                   See Tr. 18:23–21:14.            Accordingly, we

grant defendants’ cross-motion for summary judgment with respect

to these images.             The remaining images are B1, C1, E1, F1, G1–




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G3, H1–H7, I1–I5, and L1, advertisements containing images of

plaintiffs Lee, Koren, Shake, Mayes, Hinton, and Golden.

            2.         Releases

      The        remaining        plaintiffs,          despite           having       executed

agreements releasing any and all of their rights to the images

at issue, nevertheless seek to recover damages for defendants’

use of the images under NYCRL § 51.                         Plaintiffs’ releases were

comprehensive.           They     agreed,       in   return    for       compensation,       to

release “all rights to the Images . . . without reservation of

rights,” Defs.’ 56.1 Stmt. ¶ 123, or “waiv[ing] any claim that

[they] may have at any time to the eventual use to which such

Images may be applied.”               Id. at ¶ 38.                 Thus, they expressly

disclaimed their right to pursue claims relating to these images

and gave releasees the authority to allow third-parties like the

Clubs     to     use   their    images     in    any   form        and   for    any    purpose

whatsoever, without limitation.

      Plaintiffs        now    ask   the    Court      to    either      ignore,      or   read

implied exceptions for NYCRL § 51 claims into, these otherwise

unlimited        releases,      without         citing       any     New       York   caselaw

establishing such an implicit exception. 13                        It is axiomatic that



13    None of the cases cited by plaintiffs involve the execution of
similarly unlimited releases. See Pls.’ Letter, Dec. 2, 2018, ECF No. 128
(citing Chambers v. Time Warner, 00-cv-2839 (JSR), 2003 WL 749422, (Mar. 5,
2003 S.D.N.Y.) and Rosemont Enterprises, Inc. v. Urban Sys., Inc., 340
N.Y.S.2d 144 (Sup. Ct. 1973), aff’d as modified 345 N.Y.S.2d 17 (1st Dep’t.
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under New York law “a written agreement that is complete, clear

and unambiguous on its face must be enforced according to the

plain meaning of its terms.”                Greenfield v. Philles Records,

Inc., 780 N.E.2d 166, 170 (N.Y. 2002).                   Plaintiffs’ releases are

crystal    clear.       Thus,     there    is       no   reason    not    to    enforce

plaintiffs’ waivers of “any claim that [they] may have at any

time to the eventual use to which [their images] may be applied”

according to the plain meaning of those terms.                           Accordingly,

defendants’ cross-motion for summary judgment with respect to

the   remaining     plaintiffs’     NYCRL       §   51   claims    is     granted    and

plaintiffs’ motion is denied. 14

          3.        Damages

      The remaining plaintiffs have also failed as a matter of

law to prove damages.           Plaintiffs proffer Stephen Chamberlin, an

agent in the model and talent industry since 1989, as an expert

on ascertaining the fair market value of each image at issue.

Chamberlin      purports   to    determine      the      price    at   which     willing

buyers    and    sellers   of    the   images        would   agree       to    transact.

Golaszewski Decl. Ex. U, ECF No. 80-3 at 219.                      To this end, and



1973)); Tr. 10:3–17 (citing Grodin v. Liberty Cable, 664 N.Y.S.2d 276 (1st
Dep’t 1997)).

14    Although we need not reach it, this case raises an interesting question
regarding whether plaintiffs’ releases amount to “written consent” for
purposes of NYCRL § 51. Suffice it to say that it is inconsistent with NYCRL
§ 51 for plaintiffs that have signed unlimited releases to rely on the
absence of written consent in pursuing damages under that statute.
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for     each     plaintiff,           Chamberlin          (1)         briefly        summarizes

plaintiff’s      background;          (2)     indicates         reliance        on    the    same

general categories of documents; (3) reproduces the images at

issue;    and     (4)     summarily          concludes         that     “Based       on     [his]

experience and expertise in this industry, when negotiating a

rate of compensation for [plaintiff he is considering] for the

identified images used by Defendant, at a minimum, I would quote

an    established       working       day    rate    of    [$X].”            Chamberlin     then

multiplies the working day rate by the number of images and the

“usages” of images, ultimately finding total damages for the

remaining plaintiffs of $555,000.                   Id. at 221.

       At the outset, we emphasize that Chamberlin’s underlying

assumption that the remaining plaintiffs are entitled to receive

the “fair market value” of images that they already sold is

deeply flawed.         These plaintiffs negotiated with a willing buyer

and were paid the fair market value for any and all rights to

the images.      To allow plaintiffs to be compensated a second time

would be a clear windfall.                     Put another way, any theory of

damages    based       upon   the      faulty       notion      that     plaintiffs         –    as

opposed    to    releasees        –    would    be       the    willing       sellers       in   a

hypothetical transaction is fundamentally suspect.

       Second,        Chamberlin       fails        to    specify        what        documents,

testimony,       or     research        he     relies          upon     in     reaching         his


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conclusions – an issue of particular concern here, where the

undisputed evidence in the record makes clear that none of the

plaintiffs (with the possible exception of Electra) ever earned

fees of the magnitude described in the Chamberlin Report.                                      In

response to defendants’ motion to strike, Chamberlin supplements

his   report        with    a    declaration               attaching      copies    of   specific

agreements that he claims support his calculation of plaintiffs’

working       day     rates.                  Declaration         of      Stephen     Chamberlin

(“Chamberlin         Decl.”)          ¶       40,    ECF    No.    120.      But,     tellingly,

Chamberlin mischaracterizes many of these agreements in such a

way as to deceptively bolster their significance.                                     Chamberlin

Decl.     ¶   40.      For       example,             Chamberlin       concludes     that   Lee’s

working day rate would be, at a minimum, $25,000, based in part

on the fact that Lee had “entered into agreement in which she

was   paid     $25,000          for       a    one-day       shoot     for   Playboy.”        Id.

(emphasis added).           But, as is readily apparent from the face of

the agreement, Lee was paid $25,000 for much more than a “one-

day shoot,” including, inter alia, additional photoshoots, film

sessions,      and     up       to        20        days    of    promotional       appearances.

Chamberlin Decl. Ex. A, ECF No. 120-1 at 9–10.                                The appropriate

conclusion from the contract is that Lee’s rate for a one-day

photoshoot would be substantially less than $25,000. 15                                   Another


15    As described infra, Lee’s undisputed day rate was, in fact, $2,000.
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example is Chamberlin’s citation to agreements between Koren and

“Cashmere Hair” that value Koren’s services (which, like Lee’s

Playboy     contract,      go   above    and    beyond    a    one-day    shoot)   at

$50,000 and $25,000.            Id. at 29.       Chamberlin also neglects to

disclose that Koren owns Cashmere Hair.                  Pls.’ 56.1 Stmt. ¶ 24.

What Koren pays herself for her image cannot be the foundation

for a reliable calculation of fair market value.

      Chamberlin also improperly assumes that separate licenses

would have been agreed upon for each use of an image, rather

than the issuance of a single license for all uses of each

image.      Id.     Chamberlin uses this assumption as a basis for

multiplying       each    models’   working     day     rate   by   the   number   of

distinct usages, which increases his calculated damages nearly

four-and-a-half times.            Chamberlin himself concedes that there

is generally “one license and one payment,” Chamberlin Decl. ¶

19,   and   although      he    argues   that    this    payment    would    include

charges for different types of usages, it does not follow – and

is indeed contradicted by the evidence in the record 16 - that a

model’s     fees    are    properly      calculated      by    multiplying    their

working day rate by the number of distinct usages.

      The unreliability of Chamberlin’s methodology is laid bare

when comparing the damages in the Chamberlin Report with what

16    For example, Chamberlin’s approach is difficult to square with the
evidence of plaintiffs allowing releasees unlimited usages in unlimited forms
in exchange for (modest) flat fees.
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plaintiffs were actually paid for their images or photoshoots.

While Chamberlin conjures up damages of $40,000 for plaintiff

Koren (based upon two usages and a $20,000 working day rate), we

already know precisely how much she would have agreed to accept

in exchange for defendants’ use of her image:               $500, or eighty

times less than the damages calculated by Chamberlin.                  Defs.’

56.1 Stmt. ¶ 70.         This was the amount of consideration that

Koren actually accepted in exchange for allowing the releasee to

use    the   images   “for   any   purpose   whatsoever,    without   further

compensation to me.”         Declaration of Peter Shapiro Ex. 11, July

9, 2018, ECF No. 111-26 at 7.              Plaintiff Shake was also paid

$500 in exchange for all of her rights to her image at issue –

60 times more than what Chamberlin determines is the image’s

“fair market value.”         Defs.’ 56.1 Stmt. ¶ 81.       The $100,000 that

Chamberlin ascribes to defendants’ use of Mayes’ image is nearly

twice the sum of her earned income from modeling for the years

2011, 2012, and 2013, Defs.’ 56.1 Stmt. ¶¶ 95–97, and over 35

times what she was paid to participate in the photoshoot during

which the photograph at issue was taken.              Defs.’ 56.1 Stmt. ¶

103.    The alleged damages of plaintiffs Hinton, Lee, and Golden

are similarly inconsistent with their prior fees and earnings. 17

Defs.’ 56.1 Stmt. ¶¶ 39, 124, 140–143.


17     Nor can these wild discrepancies between actual earnings and contrived
                                      37
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      “The Second Circuit instructs district courts to exclude

expert testimony if it is speculative or conjectural or based on

assumptions    that    are    so   unrealistic    and    contradictory         as    to

suggest bad faith.”          LVL XIII Brands, Inc., 209 F. Supp. 3d at

636   (internal    quotation       marks    omitted)     (citing      Zerega    Ave.

Realty Corp. v. Hornbeck Offshore Transp., LLC, 571 F.3d 206,

214 (2d Cir. 2009)).           Consistent with this principal and our

discussion of the law governing the admissibility of experts

supra, we     grant   defendants’      motion    to    strike   the    report       and

testimony of plaintiffs’ proposed expert Stephen Chamberlin.                        As

a result, and for the reasons stated above, were we required to

reach a decision we would deny plaintiffs’ motion for summary

judgment as to any actual damages to be awarded under NYCRL § 51

and grant defendants’ cross-motion.

        D. New York General Business Law § 349 Claim

      Plaintiffs      also    assert   claims     under NYGBL         §349,    which

prohibits “[d]eceptive acts or practices in the conduct of any

business, trade or commerce or in the furnishing of any service

in this state.”       N.Y. Gen. Bus. Law § 349(a).          The elements of a




damages be explained by “premiums” that plaintiffs would charge to account
for “the embarrassment factor” and the fact that “businesses would not work
with a model who posed for certain disreputable businesses.” See Chamberlin
Decl. ¶¶ 20, 23. Remaining plaintiffs received any such “premium” when they
sold all of their rights to releasees, and evidently were not so concerned
with embarrassing associations as to negotiate limitations as to who could
use their images in the future.
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deceptive trade practices claim under NYGBL § 349 are: “(1) the

act or practice was consumer-oriented; (2) the act or practice

was misleading in a material respect; and (3) the plaintiff was

injured as a result.”           Spagnola v. Chubb Corp., 574 F.3d 64, 74

(2d Cir. 2009).        Although it is now well-established that a non-

consumer may bring a claim under NYGBL § 349, “the gravamen of

the complaint must be consumer injury or harm to the public

interest.”      Stadt v. Fox News Network LLC, 719 F. Supp. 2d 312,

319 (S.D.N.Y. 2010).

       The overwhelming majority of courts in this Circuit have

concluded that “the general variety of consumer confusion that

is     the   gravamen     of    [a    false      endorsement]        claim”     is    an

insufficient harm to the public interest for purposes of NYGBL §

349.     See Mayes v. Summit Entm’t Corp., 287 F. Supp. 3d 200, 206

(E.D.N.Y.     2018)     (collecting       cases);    see      also   Nomination       Di

Antonio E Paolo Gensini S.N.C. v. H.E.R. Accessories Ltd., No.

07-cv-6959     (DAB),    2009    WL   4857605,      at   *8   (S.D.N.Y.       Dec.   14,

2009)     (requiring    “a     specific    and    substantial        injury    to    the

public interest over and above ordinary trademark infringement”

in order to maintain a NYGBL § 349 claim) (internal quotation

marks omitted); Kaplan, Inc. v. Yun, 16 F. Supp. 3d 341, 352

(S.D.N.Y. 2014) (“[C]ourts in New York have routinely dismissed




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trademark     claims     brought      under Sections        349 and 350 as       being

outside the scope of the statutes . . . .”).

      As    plaintiffs’      do   not    allege   an       injury   to   the    public

interest     above     and   beyond     “the   general      variety      of   consumer

confusion,” we deny plaintiffs’ motion for summary judgment on

their NYGBL claims and grant defendants’ cross-motion.

           E. Defamation Claim 18

      Finally, plaintiffs claim that defendants’ publication of

the   images      at    issue      “constitutes        a     representation       that

plaintiffs [were] either employed by one or more of the Clubs,

that they endorsed one or more of the Clubs, or that they had

some affiliation with one or more of the Clubs,” and that this

representation is defamatory.            SAC ¶ 149.

      To prove a claim for defamation, a party must show: “(1) a

written defamatory statement of fact concerning the plaintiff;

(2) publication to a third party; (3) fault (either negligence

or actual malice depending on the status of the libeled party);

(4) falsity of the defamatory statement; and (5) special damages

or per se actionability (defamatory on its face).”                            Celle v.

Filipino Rep. Enters. Inc., 209 F.3d 163, 176 (2d Cir. 2000).

      18    Like claims brought under NYCRL § 51, the statute of limitations
for defamation claims is one year and is governed by the single publication
rule.   See Osmers v. Parade Publications, Inc., 430 F.Supp. 924 (S.D.N.Y.
1964).   For this reason, we reach the same conclusion as we did in our
statute of limitations analysis under NYCRL § 51, and grant defendants’
cross-motion for summary judgment with respect to images A1 through A5, D1,
D2, J1, K1, M1 through M5, N1, N2, and O1.

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       Plaintiffs’ motion for summary judgment fails at the first

element.       There     is      no    quarrel      that       “a   threshold         issue    for

resolution by the court is whether the statement alleged to have

caused     plaintiff       an       injury   is    reasonably susceptible               to     the

defamatory meaning imputed to it.”                        Levin v. McPhee, 119 F.3d

189, 195 (2d Cir. 1997) (citing James v. Gannett Co., 353 N.E.2d

834,    837–38     (N.Y.    1976)).          If,     however,        the   statements          are

reasonably susceptible to multiple meanings, some of which are

not defamatory, “it is then for the trier of fact, not for the

court     acting    on     the       issue   solely       as    a    matter      of    law,     to

determine in what sense the words were used and understood.”

Celle, 209 F.3d at 178.                   As one interpretation of the alleged

defamatory statements – indeed, the most likely interpretation –

is     that   plaintiffs            had    simply     agreed        to     appear       in     the

advertisements       for        a     standard      modeling        fee,    we    must        deny

plaintiffs’ motion for summary judgment as to the defamation

claim.

       The third element of a defamation claim — fault — requires

the Court to grant defendants’ cross-motion for summary judgment

on the defamation claim.                  Plaintiffs do not dispute that they

are “public figures” for purposes of their defamation claim.

Tr. 23:18–22; see Celle, 209 F.3d at 177.                            A public figure who

sues    for   defamation         must     show     that    the      allegedly     defamatory


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material        was    published      with        “actual   malice       —     that    is,     with

knowledge        that    it     was    false       or   with      reckless      disregard          of

whether it was false or not.” New York Times Co. v. Sullivan,

376 U.S. 254, 280 (1964) (internal quotation marks omitted); see

also Don King Prods., Inc. v. Douglas, 742 F. Supp. 778, 782 n.4

(S.D.N.Y.        1990)    (applying         the     “actual     malice”        standard       to    a

defamation suit brought against a non-media defendant).

         In analyzing actual malice at the summary judgment stage,

“the      question       is    whether        the evidence in            the    record        could

support a reasonable jury finding either that the plaintiff has

shown actual malice by clear and convincing evidence or that the

plaintiff has not.”              Kipper v. NYP Holdings Co., 912 N.E.2d 26,

29 (N.Y. 2009) (internal quotation marks omitted).                                The inquiry

is   a     subjective         one,    and    requires       facts    demonstrating             that

defendants “in fact entertained serious doubts as to the truth

of [their] publication or acted with a high degree of awareness

of     probable        falsity.”            Id.    (internal       quotation          marks    and

citation        omitted).        For    the       reasons      described        supra    in     our

discussion of defendants’ alleged bad faith, there are no such

facts      in    the     record.        At        worst,    the    evidence       shows        that

defendants failed to investigate the status of their or their

contractors’ rights to use plaintiffs’ images, which in and of

itself      is   insufficient          as    a    matter    of     law    to    prove     actual


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malice.     See Lerman v.    Flynt Distrib. Co.,       745 F.2d 123, 141           (2d

Cir. 1984).


                              III.    CONCLUSION

     Plaintiff's       motion   for    summary     judgment    is    granted       and

defendants'    cross-motion     for    summary     judgment   is    denied    as    to

plaintiff Electra's Lanham Act claim.              The Clubs are permanently

enJoined from using Electra's image in any of their promotional

material    without    Electra's     permission.      Plaintiffs'     motion       for

summary     judgment    is   denied    and   defendants'      cross-motion         for

summary judgment is granted as to all other claims                    for    relief.

Defendants'    motion to strike the reports,           survey,      and testimony

of plaintiffs'    proposed experts is granted in its entirety.                     The

Clerk of Court is respectfully directed to terminate the motions

pending at ECF Nos. 79, 94, 95, 96, and 101 and close this case.

     SO ORDERED.

Dated:     New York, New York
           January 3, 2019


                                             NAOMI REICE BUCHWALD
                                             UNITED STATES DISTRICT JUDGE




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